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                                UNITED STATES DISTRICT COURT
                                    DISTRICT OF NEBRASKA

 UNITED STATES OF AMERICA
                  Plaintiff
 v.                                                    Case Number 8:03cr533-002

                                                       USM Number 25511-112
 RICHARD S. LIEN
                        Defendant
                                                       MICHAEL L. SMART
                                                       Defendant’s Attorney
__________________________________
                    AMENDED JUDGMENT IN A CRIMINAL CASE
           ON MOTION OF THE GOVERNMENT AFTER INITIAL SENTENCING
               (For Offenses Committed On or After November 1, 1987)

Date of Original Judgment: 2/3/2005
(Or Date of Last Amended Judgment)

Reason for Amendment:
     Reduction of Sentence for Changed Circumstances (Fed. R. Crim. P. 35(b))

THE DEFENDANT pleaded guilty to count II of the Superseding Indictment on July 12, 2004.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offense(s):
          Title, Section & Nature of Offense               Date Offense               Count
                                                            Concluded               Number(s)

 21:841(a)(1), 21:841(b)(1), and 18:2 POSSESS WITH     August 28, 2003                  2s
 INTENT TO DISTRIBUTE METHAMPHETAMINE
The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is
imposed pursuant to the Sentencing Reform Act of 1984.

[X] Government’s motion (filing 163) for reduction of sentence pursuant to Rule 35(b) is granted.

Count I of the Superseding Indictment and the Indictment are dismissed on the motion of the United
States as to this defendant only.

Following the imposition of sentence, the Court advised the defendant of the right to appeal pursuant
to the provisions of Fed. R. Crim. P. 32 and the provisions of 18 U.S.C. § 3742 (a) and that such
Notice of Appeal must be filed with the Clerk of this Court within ten (10) days of this date.

IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30
days of any change of name, residence, or mailing address until all fines, restitution, costs and
special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
defendant shall notify the court and United States attorney of any material change in the defendant’s
economic circumstances.

                                                                    Date of Imposition of Sentence:
                                                                                 January 16, 2008

                                                                         s/ Richard G. Kopf
                                                                         United States District Judge

                                                                               January 17, 2008
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                                         IMPRISONMENT

The defendant’s sentence of imprisonment is reduced from the original sentence to a term of eighty-
two (82) months.


The Court makes the following recommendations to the Bureau of Prisons:

1.       That the defendant participate in the 500-hour Comprehensive Drug Treatment Program or
         any similar drug treatment program available.

2.       That the defendant be incarcerated in a federal facility as close to South Dakota or in the
         facility in Yankton, South Dakota if possible.

3.       Defendant shall be given credit for time served from December 23, 2003.


                              ACKNOWLEDGMENT OF RECEIPT

I hereby acknowledge receipt of a copy of this judgment this ____ day of ____________, ______


                                                               _____________________________
                                                                       Signature of Defendant

                                             RETURN

It is hereby acknowledged that the defendant was delivered on the ____ day of _______________,
_____ to _________________________________, with a certified copy of this judgment.


                                                         __________________________________
                                                                UNITED STATES WARDEN


                                                     By:__________________________________

NOTE: The following certificate must also be completed if the defendant has not signed the
Acknowledgment of Receipt, above.

                                          CERTIFICATE


It is hereby certified that a copy of this judgment was served upon the defendant this ____ day of
_______________, ______

                                                         __________________________________
                                                                UNITED STATES WARDEN


                                                     By:__________________________________
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                                      SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of 5
years.

The defendant shall report to the probation office in the district to which the defendant is released
within 72 hours of release from the custody of the Bureau of Prisons.

The defendant shall not commit another federal, state or local crime.

The defendant shall not possess a firearm, destructive device, or any other dangerous weapon.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from
any unlawful use of a controlled substance. The defendant shall submit to one drug test within 15
days of release from imprisonment and at least two periodic drug tests thereafter, as determined by
the court.

If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant
pay in accordance with the Schedule of Payments sheet of this judgment.

The defendant must comply with standard conditions that have been adopted by this court as well
as with any additional conditions on the attached page.

                              STANDARD CONDITIONS OF SUPERVISION
1.       The defendant shall not leave the judicial district without the permission of the court or
         probation officer;
2.       The defendant shall report to the probation officer and shall submit a truthful and complete
         written report within the first five days of each month;
3.       The defendant shall answer truthfully all inquiries by the probation officer and follow the
         instructions of the probation officer;
4.       The defendant shall support his or her dependents and meet other family responsibilities;
5.       The defendant shall work regularly at a lawful occupation, unless excused by the probation
         officer for schooling, training, or other acceptable reasons;
6.       The defendant shall notify the probation officer at least ten days prior to any change in
         residence or employment;
7.       The defendant shall refrain from excessive use of alcohol and shall not purchase, possess,
         use, distribute, or administer any controlled substance or any paraphernalia related to any
         controlled substances, except as prescribed by a physician;
8.       The defendant shall not frequent places where controlled substances are illegally sold, used,
         distributed, or administered;
9.       The defendant shall not associate with any persons engaged in criminal activity and shall not
         associate with any person convicted of a felony, unless granted permission to do so by the
         probation officer;
10.      The defendant shall permit a probation officer to visit him or her at any time at home or
         elsewhere and shall permit confiscation of any contraband observed in plain view of the
         probation officer;
11.      The defendant shall notify the probation officer within seventy-two hours of being arrested or
         questioned by a law enforcement officer;
12.      The defendant shall not enter into any agreement to act as an informer or a special agent of
         a law enforcement agency without the permission of the court;
13.      As directed by the probation officer, the defendant shall notify third parties of risks that may
         be occasioned by the defendant’s criminal record or personal history or characteristics and
         shall permit the probation officer to make such notifications and to confirm the defendant’s
         compliance with such notification requirement.
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                                  SPECIAL CONDITIONS OF SUPERVISION


1.         The defendant shall cooperate in the collection of DNA as directed by the probation officer, pursuant
           to the Public Law 108-405 (Revised DNA Collection Requirements Under the Justice for All Act of
           2004), if such sample was not collected during imprisonment.

2.         Paragraph # 7 of the Standard Conditions of supervision is modified, i.e., instead of merely refraining
           from excessive use of alcohol, the defendant shall not purchase or possess, use, distribute, or
           administer any alcohol, just the same as any other narcotic or controlled substance.

3.         The defendant shall be subject to the search of the defendant’s premises, vehicle or person, day or
           night, with or without a warrant, at the request of the probation officer to determine the presence of
           alcohol and/or controlled substances, firearms or any other contraband. Any such items found may be
           seized by the probation officer. This condition may be invoked with or without the cooperation of law
           enforcement officers.

4.         The defendant shall attend, pay for and successfully complete any diagnostic evaluations, treatment
           or counseling programs, or approved support groups (e.g., AA/NA) for alcohol and/or controlled
           substance abuse, as directed by the probation officer.

5.         The defendant shall participate in a victim awareness program as directed by the probation officer.
           Based on the defendant’s ability to pay, the defendant shall pay for the costs of the program in an
           amount determined by the probation officer.

6.         The defendant shall provide the probation officer with access to any requested financial information.

7.         Pursuant to 18 U.S.C. § 3583 (d), the defendant shall submit to a drug test within fifteen (15) days of
           release on supervised release and at least two (2) periodic drug tests thereafter to determine whether
           the defendant is using a controlled substance. Further, the defendant shall submit to such testing as
           requested by any probation officer to detect the presence of alcohol or controlled substances in the
           defendant’s body fluids and to determine whether the defendant has used any of those substances.
           Based on the defendant’s ability to pay, the defendant shall pay for the collection of urine samples to
           be tested for the presence of alcohol and/or controlled substances in an amount to be determined by
           the probation officer.

8.         The defendant shall report to the Supervision Unit of the U.S. Probation Office for the District of
           Nebraska between the hours of 8:00 a.m. and 4:30 p.m., 111 South 18th Plaza, Suite C79, Omaha,
           Nebraska, (402) 661-7555, within seventy-two (72) hours of release from confinement, and, thereafter,
           as directed by the probation officer.
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                              CRIMINAL MONETARY PENALTIES


      The defendant shall pay the following total criminal monetary penalties in accordance with the
schedule of payments set forth in this judgment.

       Total Assessment                     Total Fine                    Total Restitution

         $100.00 (PAID)

The Court has determined that the defendant does not have the ability to pay interest and it is
ordered that interest requirement is waived.



                                               FINE

       No fine imposed.


                                         RESTITUTION

       No restitution was ordered.
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                                      SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, the court orders that payment of the total criminal
monetary penalties shall be due as follows:

        The defendant has paid the special assessment in the amount of $100.

Unless the court has expressly ordered otherwise in the special instruction above, if this judgment
imposes a period of imprisonment, payment of criminal monetary penalties shall be due during the
period of imprisonment. All criminal monetary penalties, except those payments made through the
Federal Bureau of Prisons’ Inmate Financial Responsibility Program, are made to the clerk of the
court, unless otherwise directed by the court, the probation officer or the United States attorney.

All financial penalty payments are to be made to the Clerk of Court for the District of Nebraska, 111
S. 18th Plaza, Suite 1152, Omaha, NE 68102-1322.

The defendant shall receive credit for all payments previously made toward any criminal monetary
penalties imposed.

The defendant shall inform the probation officer of any change in his or her economic circumstances
affecting the ability to make monthly installments, or increase the monthly payment amount, as
ordered by the court. In the event a defendant is able to make a full or substantial payment toward
the remaining criminal monetary penalty, he or she shall do so immediately.

The defendant is restrained from transferring any real or personal property, unless it is necessary
to liquidate and apply the proceeds of such property as full or partial payment of the criminal
monetary penalty.

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3)
restitution interest, (4) fine principal, (5) community restitution, (6) fine interest, (7) penalties, and (8)
costs, including cost of prosecution and court costs.

CLERK’S OFFICE USE ONLY:

ECF DOCUMENT

I hereby attest and certify this is a printed copy of a
document which was electronically filed with the
United States District Court for the District of Nebraska.

Date Filed:__________________________________

DENISE M. LUCKS, CLERK

By ______________________________________Deputy Clerk
